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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                              March 11, 2025
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                             §
                                   §                   CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                               §                   CHAPTER 7
                                   §
        Debtor.                    §
                                   §
JOHN QUINLAN, OMAR KHAWAJA         §
AND OSAMA ABDULLATIF,              §
                                   §
        Plaintiffs,                §
                                   §
VS.                                §                   ADVERSARY NO. 23-3141
                                   §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,    §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI         §
CHOUDHRI, SHEPHERD-HULDY           §
DEVELOPMENT I, LLC, SHEPHERD-      §
HULDY DEVELOPMENT II, LLC,         §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,      §
OTISCO RDX LLC, MCITBE, LLC,       §
JETALL/CROIX PROPERTIES LP,        §
AND JETALL/CROIX GP, LLC,          §
                                   §
        Defendants.                §

                           ORDER STRIKING JURY DEMAND

       On March 10, 2025, defendants OTISCO RDX LLC, MCITBE, LLC, Jetall/Croix

Properties LP, Jetall/Croix GP, filed their Answer to Complaint with Jury Demand (ECF No. 558).

The Fifth Circuit has held that “because of the equitable nature of bankruptcy proceedings, there




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is generally no constitutional right to a jury trial.”1 Trial in this matter is scheduled in 14 days,

March 25, 2025.

           THEREFORE, IT IS ORDERED that the Jury Demand set forth in the style of the

Answer is struck and the Demand for Jury Trial is stricken from the docket.

             SIGNED 03/11/2025


                                                                  ___________________________________
                                                                  Jeffrey Norman
                                                                  United States Bankruptcy Judge




1
    Matter of Merrill, 594 F.2d 1064, 1067 (5th Cir. 1979) (internal citation omitted).
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